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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

AARON PRIVATE CLINIC
MANAGEMENT, LLC,
                    Plaintiff,
       v.                                           1:17-cv-1034-WSD
FRANK W. BERRY, in his Official
Capacity as Commissioner of the
Georgia Department of Community
Health; and NATHAN DEAL, in his
Official Capacity as Governor of
Georgia,
                    Defendants.


                            OPINION AND ORDER

      This matter is before the Court on Plaintiff Aaron Private Clinic

Management, LLC’s (“Plaintiff”) Motion for Injunction Pending Appeal [39] (the

“Motion”). Also before the Court is Defendants Frank W. Berry and Nathan

Deal’s (“Defendants”) Motion to Seal Documents 41-3 and 41-4 to Allow Re-

Filing with Protected Information Redacted [42] (“Motion to Seal”) and Plaintiff’s

Rule 12(f) Motion to Strike [44] (“Motion to Strike”) and Motion for Protective

Order and Motion to Seal [48] (“Motion for Protective Order”).
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I.    BACKGROUND

      On May 4, 2017, Plaintiff filed its First Amended Complaint seeking

declaratory and injunctive relief, and damages, for violations of Section 504 of the

Rehabilitation Act of 1973, 29 U.S.C. § 793 (“Rehabilitation Act”) and the

Americans with Disabilities Act, 42 U.S.C. § 12101, et seq. (“ADA”). Plaintiff

argued that two recently promulgated Georgia statutes—O.C.G.A. § 26-5-21

(“Licensing Moratorium”)1 and O.C.G.A. § 26-5-40 et seq. (“Licensing Cap”)2—


1
      The Licensing Moratorium, enacted by the Georgia Legislature in 2016,
provides the following:
      A temporary moratorium on the acceptance of new applications for
      licensure of narcotic treatment programs authorized under this article
      through June 30, 2017, would provide the General Assembly with
      time to study the need for any changes to the licensure requirements
      for the operation of such programs and the enactment of any other
      additional laws to ensure the safety of Georgia's citizens. New
      applications for licensure of narcotic treatment programs in this state
      shall be temporarily suspended starting from June 1, 2016, through
      and including June 30, 2017, in order to permit the commission to
      complete its report and recommendations and to permit the General
      Assembly to act on those recommendations during the 2017
      legislative session.
      ...
      Between June 1, 2016, and June 30, 2017, the department shall not
      accept any new applications for licensure of narcotic treatment
      programs.
See O.C.G.A. § 26-5-21(e)-(f).
2
      The Licensing Cap, also known as the Narcotic Treatment Programs
Enforcement Act (“NTPEA”), became effective on May 4, 2017 and supersedes
the Licensing Moratorium. It provides that the DCH “shall create and promulgate


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“illegally discriminate against the disabled, including barring the Department of

Community Health (‘DCH’) from accepting new licenses to expand treatment for

the disabled in Georgia.” (First Amended Complaint [19] (“FAC”) at 3-4).

Plaintiff further argued that “[t]hese rules illegally block [it] from establishing an

[o]pioid [t]reatment [p]rogram.” (Id.). Plaintiff’s First Amended Complaint

asserted six counts, all based on the overarching claim that the Licensing

Moratorium and Licensing Cap violate the Rehabilitation Act and Title II of the

ADA because they are facially invalid, discriminatory, and, through disparate

treatment, “cause disproportionate impact to APC and the disabled persons APC

intends to serve.” (FAC ¶¶ 56-85).

      On May 18, 2017, Defendants filed their Motion to Dismiss [23] arguing

that (1) Plaintiff lacked standing under the ADA and Rehabilitation Act; (2) the

Eleventh Amendment and sovereign immunity barred Plaintiff’s money damages

claims; (3) Plaintiff was not entitled to recover money damages because its


reasonable and necessary minimum standards of quality and services for narcotic
treatment programs,” including those relating to, for example, adequate and safe
buildings or house facilities where programs are offered, adequate equipment for
the delivery of the programs, and continuing evaluation of the effectiveness of
programs. See O.C.G.A. § 26-5-42. The Licensing Cap contemplates an open
enrollment period for narcotic treatment program licensing applications, with the
first open enrollment period to be held December 1, 2017 through December 31,
2017. See O.C.G.A. § 26-5-46.


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Complaint lacked plausible, fact-based allegations of intentional discrimination;

and (4) Plaintiff was not entitled to declaratory or injunctive relief. ([23.1] at 12-

30). On November 16, 2017, the Court granted Defendant’s Motion to Dismiss—

holding that Plaintiff lacked standing to bring the lawsuit. ([34] (“November 16th

Order”) at 17). The Court did not address Defendants’ additional arguments

regarding whether the Eleventh Amendment and Sovereign Immunity bar

Plaintiff’s damages claims, or whether Plaintiff should be barred from recovering

money damages because its Complaint lacks “fact-based allegations of intentional

discrimination. ([34] at 17, n.9). The Court similarly chose not to address

Plaintiff’s underlying substantive claims.

      On November 20, 2017, Plaintiff filed the Motion. In it, Plaintiff argues it is

entitled to injunctive relief on appeal because (1) Plaintiff demonstrates a

substantial likelihood on the merits because the Licensing Moratorium and

Licensing Cap are facially discriminatory; (2) Plaintiff, “and those persons it

represents will suffer irreparable injury” because “victims of discrimination sustain

irreparable injury”; (3) the “Licensing Moratorium and the Licensing Cap violate

Plaintiff’s rights, and the rights of the persons it seeks to protect, under the Equal

Protection and Due Process Clauses of the U.S. Constitution”; (4) the balance of

hardships “tips strongly” in Plaintiff’s favor; (5) the injury to Plaintiff, and those it


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seeks to protect, “outweigh any potential damage the proposed injunction may

cause the Defendants”; and (6) granting the injunction pending appeal is in the

public interest. ([39.1] at 17-25).

      On December 4, 2017, Defendants filed their Response in Opposition to

Plaintiff’s Motion for Injunction Pending Appeal [41] (the “Response”).3, 4, 5


3
       On December 7, 2017, Defendants filed their Motion to Seal. Defendants
request that the Court seal Documents 41.3 and 41.4 “on the grounds that those
documents were inadvertently filed without redaction of personal data identifiers,
specifically, a home address which appears on two pages within the documents.”
([42] at 1). The Court grants Defendants Motion to Seal.
4
       Plaintiff seeks to strike, pursuant to Rule 12(f) of the Federal Rules of Civil
Procedure, information in Defendants’ Response and accompanying exhibits that
Plaintiff has submitted two Narcotic Treatment Program applications. ([44] at 2).
Plaintiff states that Defendants confuse Plaintiff with Aaron Private Clinic
Professionals, P.C. (Id.). Plaintiff requests that the Court order Defendants to
“withdraw their misleading Declaration and disclosure of immaterial, private,
confidential licensing information of non-party Aaron Private Clinic Professionals,
P.C., and a non-party physician.” (Id. at 44). Plaintiff then refers to Doc. Nos. 41,
41.1, 41.2, 41.5, 43.1, 43.2 and states Defendants should be “allowed to refile their
response without the non-party NTP application materials.” (Id.).
       Rule 12(f) provides: “The Court may strike from a pleading an insufficient
defense of any redundant, immaterial, impertinent, or scandalous matter.” Fed. R.
Civ. P. 12(f). Plaintiff’s use of Rule 12(f) is inappropriate because it seeks to
strike material from a document other than a pleading, and for that reason the
Court denies Plaintiff’s Motion to Strike. The Court notes, however, that it
recognizes the distinction between Plaintiff and Aaron Private Clinic Professionals,
P.C. and takes this fact into account. Moreover, the information Plaintiff seeks to
strike does not impact the Court’s holdings here.
5
       Plaintiff also asks that the Court order Doc. Nos. 43.1 and 43.2 sealed, and
that Defendants pay Plaintiff’s reasonable attorney’s fees and costs incurred in
having to seek such relief. ([48] at 9). Plaintiff asserts that these documents


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Defendants argue that the Motion “merely rehashes arguments previously

considered and rejected by this Court in its ruling on Defendants’ [M]otion to

[D]ismiss.” ([41] at 1). Defendants further contend that Plaintiff “has presented

no evidence that it will suffer irreparable injury in the absence of a stay or

injunction pending appeal; its assertion of harm to disabled persons is entirely

speculative; and, in any event, the assertion does not amount to a showing of

irreparable harm to [Plaintiff]—who is the only plaintiff before this Court—that

would support injunctive relief.” (Id. at 1-2). Defendants note finally that

Plaintiff’s “request for equitable relief is further undermined by its own pleadings

which seek money damages on its claims” because “the possibility of a monetary

recovery bars relief in equity as it demonstrates that the claimed injury is not

include confidential trade secrets and confidential business information. Plaintiff
states that disclosure of these documents “would substantially injure [it] by placing
it at a disadvantage when negotiating future commercial leases, future business
relationships, . . .and avoiding discriminatory conduct by local community
elements.” ([48] at 5). Protection of a “trade secret” requires a party to
demonstrate that the party “consistently treated the information as closely guarded
secrets, that the information represents substantial value to [the party], that it
would be valuable to [the party’s] competitors, and that it derives its value by
virtue of the effort of its creation.” Chicago Tribune Co. v. Bridgestone/Firestone,
Inc., 253 F.3d 1304, 1313-14 (11th Cir. 2001). Here, Plaintiff advances only
conclusory statements that at least some of the information identified in the
documents it seeks to seal contain trade secrets and other confidential business
information. Plaintiff fails to identify what information constitutes trade secrets
and why, or that it has sought to protect these alleged trade secrets from disclosure.
Accordingly, the Court denies Plaintiff’s Motion for Protective Order.


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irreparable.” (Id. at 2).

II.   DISCUSSION

      A.     Legal Standard

      The Federal Rules of Appellate Procedure require that a party seeking a stay

or injunction pending appeal first seek the stay or injunction in the district court.

See Fed. R. App. P. 8(a)(1)(C). Rule 62(c) of the Federal Rules of Civil Procedure

governs the granting of an injunction pending appeal and provides, in relevant part,

that “[w]hile an appeal is pending from an interlocutory order or final judgment

that grants, dissolves, or denies an injunction, the court may suspend, modify,

restore, or grant an injunction on terms for bond or other terms that secure the

opposing party’s rights.” Fed. R. Civ. P. 62(c).

      In determining whether to grant an injunction on appeal, a court should

consider the following four factors:

      1) the likelihood that the moving party will prevail on the merits;

      2) the prospect of irreparable injury to the moving party if relief is
         withheld;

      3) the possibility of harm to other parties if relief is granted; and

     4) the public interest.
Freeman v. Cavazos, 923 F.2d 1434, 1437 (11th Cir. 1991); Garcia-Mir v. Meese,

781 F.2d 1450, 1453. The Eleventh Circuit has held that a preliminary injunction


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is an “extraordinary and drastic remedy” that will not be granted unless the

“movant clearly carries the burden of persuasion as to the four prerequisites.”

Wreal, LLC v. Amazon.com, Inc., 840 F.3d 1244, 1247 (11th Cir. 2016) (internal

quotations omitted); see also Siegel v. LePore, 234 F.3d 1136, 1176 (11th Cir.

2000) (en banc). Although, “[o]rdinarily[,] the first factor is the most important,”

an injunction may also be granted upon a lesser showing of a “substantial case on

the merits” where “the balance of the equities [identified in factors 2, 3, and 4]

weighs heavily in favor of granting the stay.” Garcia-Mir, 781 F.2d at 1453

(internal quotations omitted).

      B.     Analysis

      The Court finds that an injunction pending appeal is not warranted. First, for

the reasons stated in this Court’s November 16th Order granting Defendants’

Motion to Dismiss, the Court finds that Plaintiff lacks standing to bring this suit.

“The first component of the likelihood of success on the merits prong usually

examines whether the plaintiffs have standing in a given case.” Jack’s Canoes &

Kayaks, LLC v. National Park Service, 933 F. Supp. 2d 58, 76 (D.D.C. 2013)

(finding plaintiff lacked standing to assert its claim for a declaratory judgment that

the district never effectively transferred administrative jurisdiction and thus could

not demonstrate it could succeed on the merits of the claim); see also, SIL CAAM,


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LLC v. RBC Bank (USA) (Inc.), 2011 WL 6136499, at *6 (N.D. Ga. Dec. 9, 2011)

(finding the plaintiff failed to show likelihood of success on the merits because it

“lack[ed] a substantial likelihood of demonstrating standing”). Because Plaintiff

lacks standing, it thus cannot demonstrate it is likely to succeed on the merits.

      Plaintiff similarly fails to show that it will suffer irreparable harm if an

injunction on appeal is not granted. Plaintiff asserts a number of grounds allegedly

showing why it is suffering, or may at some time in the future suffer, irreparable

injury, including that (1) irreparable injury can be presumed by the alleged

deprivation of Plaintiff’s rights protected by the Equal Protection and Due Process

clauses and the ADA; (2) those individuals that Plaintiff seeks to protect are being

denied access to medical care; (3) the alleged projected rate of opioid-related

deaths in the next decade is 13,000; (5) Plaintiff is being stigmatized because of

Defendants’ discrimination; and (6) Plaintiff’s inability to recover monetary

damages because of sovereign immunity renders the harm suffered irreparable.

None of the grounds asserted by Plaintiff, however, show how Plaintiff is

individually injured or impacted as a result of Defendants’ actions.

      While it may be true in some instances that a stigma may arise from a

defendant’s discrimination sufficient to constitute irreparable injury, Plaintiff falls

far short of showing that it is directly suffering a stigma. Plaintiff alleges only


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vague facts and legal conclusions that its rights are being deprived, and that it and

“those it seeks to protect”—individuals not party to this lawsuit—are being denied

certain medical care and being stigmatized. Plaintiff’s claim that it is suffering

irreparable harm based on the potential deaths of 13,000 prospective patients, is

not only nonsensical, it is wildly uncertain. Finally, without addressing each and

every case cited by Plaintiff in support of its argument that it is, or will, suffer

irreparable injury unless the Court grants an injunction on appeal, the Court notes

that it has considered the cases cited by Plaintiff and finds that they either do not

apply to the facts of this case or are non-binding precedent.

      The Court also finds that, if it grants an injunction here, the possibility of

harm to the other parties is great. An injunction would prevent Defendants from

enforcing a presumed constitutional law to protect and treat opioid-addicted

persons. Defendants state that the statutes Plaintiff seeks to enjoin from

enforcement accomplish the following:

      [They] protect Georgia’s health care consumers by ensuring that they
      have access to quality services, by allowing for the expansion of
      treatment programs where there is a need for such programs, and by
      limiting expansion to such need so that [Georgia Healthcare Facility
      Regulation] has sufficient resources to fulfill its ongoing obligation to
      inspect existing programs to ensure continued compliance with the
      program requirements.




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([41] at 3). Defendants advance compelling reasons justifying why granting the

relief requested by Plaintiff may in fact impede the facilitation and administration

of resources to support opioid-addicted persons.

       Finally, on balance, the public interest weighs against granting Plaintiff’s

requested injunction on appeal. The Court acknowledges and appreciates the

gravity of the current opioid epidemic in this nation. Without a doubt, it is a

serious matter that the nation must face and determine how best to respond. What

is also clear to the Court, however, is that the statutes Plaintiff is seeking to enjoin

from enforcement here are an attempt to address the opioid-epidemic by creating

greater efficiency of resources and to protect opioid-addicted individuals.

III.   CONCLUSION

       For the foregoing reasons,

       IT IS HEREBY ORDERED that Plaintiff’s Motion for Injunction Pending

Appeal [39] is DENIED.

       IT IS FURTHER ORDERED that Plaintiff’s Rule 12(f) Motion to Strike

[44] and Motion for Protective Order and Motion to Seal [48] are DENIED.

       IT IS FURTHER ORDERED that Defendants’ Motion to Seal Documents

41-3 and 41-4 to Allow Re-Filing with Protected Information Redacted [42] is

GRANTED.


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SO ORDERED this 4th day of January, 2018.




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